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11 Attorneys for Plaintiff,
   Aaron L Johnson
12
13
                           UNITED STATES DISTRICT COURT
14                       SOUTHERN DISTRICT OF CALIFORNIA
15                              SAN DIEGO DIVISION
16
17 Aaron L Johnson,                       Case No.: '21CV2040 CAB KSC
18
                       Plaintiff,         COMPLAINT FOR DAMAGES
19
20         vs.                            FOR VIOLATIONS OF:
                                           1. THE TELEPHONE CONSUMER
21
     Digital Media Solutions,              PROTECTION ACT
22
                       Defendant.         JURY TRIAL DEMANDED
23
24
25
26
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28
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 1         Plaintiff, Aaron L Johnson (hereafter “Plaintiff”), by undersigned counsel,
 2
     brings the following complaint against Digital Media Solutions (hereafter
 3
 4 “Defendant”) and alleges as follows:
 5                                       JURISDICTION
 6
           1.     This action arises out of Defendant’s repeated violations of the
 7
 8 Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (“TCPA”).
 9         2.     Jurisdiction of this Court arises under 47 U.S.C. § 227(b)(3) and 28
10
     U.S.C. § 1331.
11
12         3.     Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b), where
13
     the acts and transactions giving rise to Plaintiff’s action occurred in this district and/or
14
     where Defendant transacts business in this district.
15
16                                           PARTIES
17         4.     Plaintiff is an adult individual residing in Santee, California, and is a
18
     “person” as defined by 47 U.S.C. § 153(39).
19
20         5.     Defendant is a business entity located in Clearwater, Florida, and is a
21
     “person” as the term is defined by 47 U.S.C. § 153(39).
22
23                    ALLEGATIONS APPLICABLE TO ALL COUNTS
24
           6.     At all times mentioned herein where Defendant communicated with any
25
26 person via telephone, such communication was done via Defendant’s agent,
27
     representative or employee.
28


                                                  2
                                                               COMPLAINT FOR DAMAGES
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 1            7.    At all times mentioned herein, Plaintiff utilized a cellular telephone
 2
     service and was assigned the following telephone number: 619-xxx-1891 (hereafter
 3
 4 “Number”).
 5            8.    Defendant placed calls to Plaintiff’s Number in an attempt to solicit
 6
     business from Plaintiff.
 7
 8            9.    The aforementioned calls were placed using an artificial or prerecorded
 9
     voice.
10
11            10.   When Plaintiff answered calls from Defendant, he heard a prerecorded

12 message and had to wait on the line to be transferred to a live representative.
13
         11. In or around September of 2020, Plaintiff spoke with a live representative
14
15 and requested that Defendant cease placing calls to him.
16            12.   Plaintiff reiterated his request for Defendant to cease placing calls to him
17
     on several occasions thereafter.
18
19            13.   Nevertheless, Defendant continued to place prerecorded calls to
20
     Plaintiff’s Number.
21
              14.   Defendant’s actions caused Plaintiff a great deal of frustration and
22
23 inconvenience.
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                                                   3
                                                                COMPLAINT FOR DAMAGES
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 1                                          COUNT I
 2
      VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT, 47
 3                         U.S.C. § 227, et seq.
 4
           15.    Plaintiff incorporates by reference all of the above paragraphs of this
 5
 6 complaint as though fully stated herein.
 7         16.    The TCPA prohibits Defendant from using, other than for emergency
 8
     purposes, an artificial or prerecorded voice when placing calls to Plaintiff’s Number
 9
10 absent Plaintiff’s prior express consent to do so. See 47 U.S.C. § 227(b)(1).
11         17.    FCC regulations promulgated under the TCPA specifically prohibit
12
     Defendant from using an artificial or prerecorded voice to call Plaintiff’s Number for
13
14 the purpose of advertising or telemarketing absent Plaintiff’s prior express written
15
     consent. See 47 C.F.R. § 64.1200(a)(2).
16
17         18.    FCC regulations promulgated under the TCPA require that Plaintiff’s

18 consent be pursuant to a written agreement, signed by the Plaintiff, which contains
19
     Plaintiff’s unambiguous assent to receiving calls using an artificial or prerecorded
20
21 voice from Defendant. See 47 C.F.R. § 64.1200(f)(8).
22         19.    Defendant called Plaintiff’s Number using an artificial or prerecorded
23
     voice without Plaintiff’s consent in that Defendant either never had Plaintiff’s prior
24
25 express consent to do so, or such consent was effectively revoked when Plaintiff
26
     requested that Defendant cease all further calls.
27
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                                                 4
                                                              COMPLAINT FOR DAMAGES
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 1         20.    Defendant continued to willfully call Plaintiff’s Number using an
 2
     artificial or prerecorded voice knowing that it lacked the requisite consent to do so in
 3
 4 violation of the TCPA.
 5         21.    Plaintiff was harmed and suffered damages as a result of Defendant’s
 6
     actions.
 7
 8         22.    The TCPA creates a private right of action against persons who violate
 9
     the Act. See 47 U.S.C. § 227(b)(3).
10
11         23.    As a result of each call made in violation of the TCPA, Plaintiff is

12 entitled to an award of $500.00 in statutory damages.
13
          24. As a result of each call made knowingly and/or willingly in violation of
14
15 the TCPA, Plaintiff may be entitled to an award of treble damages.
16
17                                  PRAYER FOR RELIEF

18         WHEREFORE, Plaintiff prays for judgment against Defendant for:
19                A. Statutory damages of $500.00 for each call determined to be in violation
20
                     of the TCPA pursuant to 47 U.S.C.§ 227(b)(3);
21
22                B. Treble damages for each violation determined to be willful and/or
23
                     knowing under the TCPA pursuant to 47 U.S.C.§ 227(b)(3);
24
25                C. Such other and further relief as may be just and proper.

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                                                              COMPLAINT FOR DAMAGES
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 1               TRIAL BY JURY DEMANDED ON ALL COUNTS
 2
 3
 4 DATED: December 6, 2021                TRINETTE G. KENT
 5
                                         By: /s/ Trinette G. Kent
 6                                       Trinette G. Kent, Esq.
 7                                       Lemberg Law, LLC
                                         Attorney for Plaintiff, Aaron L Johnson
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                                                     COMPLAINT FOR DAMAGES
